              Case 22-11231-amc                     Doc           Filed 06/29/23 Entered 06/29/23 16:26:18                         Desc Main
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Fill in this information to identify the case:
Debtor 1      Eileen M. Bowers

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: Eastern District of PA

Case number 22-11231 AMC


Form 4100R
Response to Notice of Final Cure Payment                                                                                                        10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.




Part 1:        Mortgage Information

Name of Creditor:                MIDFIRST BANK                                                      Court claim no. (if known):    6-2

Last 4 digits of any number you use to identify the debtor’s account:                     9328
Property address:
                        1630 Horace Court
                        Bensalem, PA 19020

Part 2:        Prepetition Default Payments

Check one:

Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the
   creditor’s claim.

Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the
   creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of this                     $ __90,984.78________
   response is:



Part 3:        Postpetition Mortgage Payment

Check one:

 Creditor states that the debtor(s) are current with all postpetition payments consistent with
   § 1322(b)(5) of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

   The next postpetition payment from the debtor(s) is due on:


 Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5) of the Bankruptcy Code, including all fees,
charges, expenses, escrow, and costs.

   Creditor asserts that the total amount remaining unpaid as of the date of this response is:
   a. Total postpetition ongoing payments due:                                                                               (a)                 $ 959.80

   b.      Total fees, charges, expenses, escrow, and costs outstanding:                                                   + (b)               $ 1,170.00

   c.      Total. Add lines a and b.                                                                                         (c)               $ 2,129.80

   Creditor asserts that the debtor(s) are contractually obligated for          06 / 01 / 2023
   the postpetition payment(s) that first became due on:




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Debtor(s)    Eileen M. Bowers                                                                        Case Number (if known): 22-11231 AMC
            First Name   Middle Name       Last Name




Part 4:      Itemized Payment History


If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the debtor(s) are not current
with all postpetition payments, including all fees, charges, expenses, escrow, and costs, the creditor must attach an itemized payment
history disclosing the following amounts from the date of the bankruptcy filing through the date of this response:
 all payments received;
 all fees, costs, escrow, and expenses assessed to the mortgage; and
 all amounts the creditor contends remain unpaid.




Part 5:      Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the creditor’s proof of
claim.

Check the appropriate box::

 I am the creditor.
 I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this response is true and correct to the best of my
knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different from the notice address listed
on the proof of claim to which this response applies.



                    Denise Carlon
            /s/${s:1:y:De_______________________________}                      Date          06/29/2023
                                                                                           ${datefield:1:y:____________}


                         Denise Carlon
                         KML Law Group, P.C.
                         701 Market Street, Suite 5000
                         Philadelphia, PA 16106
                         215-627-1322
                         bkgroup@kmllawgroup.com
                         Attorney for Creditor




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Loan Number
Mortgagor      EILEEN MARIE BOWERS
Case #         22-11231-13
Date           6/28/2023
Prepared By
Teller #

 Transaction   Transaction                   Post Petition Agreed Order                                      Transaction    Suspense
                            Reference Number                               Transaction Type    Fee Detail
     Date        Amount                         Date           Date                                             Detail       Amount
  6/28/2022       1,006.00                                                       SUSPENSE                       1,006.00      1,006.00
  6/29/2022      (1,006.00)                                                      SUSPENSE                      (1,006.00)          -
  6/29/2022       1,006.00                    6/1/2022                           PAYMENT                        1,005.06           -
  6/29/2022                                                                      SUSPENSE                           0.94          0.94
  7/19/2022       1,006.00                                                       SUSPENSE                       1,006.00      1,006.94
  7/26/2022      (1,006.00)                                                      SUSPENSE                      (1,006.00)         0.94
  7/26/2022       1,006.00                     7/1/2022                          PAYMENT                        1,005.06          0.94
  7/26/2022                                                                      SUSPENSE                           0.94          1.88
  8/30/2022       1,006.00                                                       SUSPENSE                       1,006.00      1,007.88
  8/31/2022      (1,006.00)                                                      SUSPENSE                      (1,006.00)         1.88
  8/31/2022       1,006.00                     8/12022                           PAYMENT                        1,006.00          1.88
  10/3/2022       1,006.00                                                       SUSPENSE                       1,006.00      1,007.88
  10/4/2022      (1,006.00)                                                      SUSPENSE                      (1,006.00)         1.88
  10/4/2022       1,006.00                     9/1/2022                          PAYMENT                        1,006.00          1.88
 10/31/2022       1,006.00                                                       SUSPENSE                       1,006.00      1,007.88
  11/1/2022      (1,006.00)                                                      SUSPENSE                      (1,006.00)         1.88
  11/1/2022       1,006.00                     10/1/2022                         PAYMENT                        1,005.06          1.88
  11/1/2022                                                                      SUSPENSE                           0.94          2.82
 11/29/2022       1,006.00                     11/1/2022                         PAYMENT                        1,006.00          2.82
  1/4/2023        1,006.00                                                       SUSPENSE                       1,006.00      1,008.82
  1/25/2023         176.91                                                       SUSPENSE                         176.91      1,185.73
  2/3/2023       (1,021.77)                                                      SUSPENSE                      (1,021.77)       163.96
  2/3/2023        1,021.77                     12/1/2022                         PAYMENT                        1,021.77        163.96
  2/3/2023        1,006.00                                                       SUSPENSE                       1,006.00      1,169.96
  2/28/2023       1,006.00                                                       SUSPENSE                       1,006.00      2,175.96
  2/28/2023      (1,021.77)                                                      SUSPENSE                      (1,021.77)     1,154.19
  2/28/2023       1,021.77                     1/1/2023                          PAYMENT                        1,021.77      1,154.19

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  3/29/2023        1,006.00                                                    SUSPENSE                          1,006.00    2,160.19
  3/29/2023       (1,021.77)                                                   SUSPENSE                         (1,021.77)   1,138.42
  3/29/2023        1,021.77                   2/1/2023                         PAYMENT                           1,021.77    1,138.42
   5/2/2023        1,006.00                                                    SUSPENSE                          1,006.00    2,144.42
   5/2/2023       (1,021.77)                                                   SUSPENSE                         (1,021.77)   1,122.65
   5/2/2023        1,021.77                   3/1/2023                         PAYMENT                           1,021.77    1,122.65
   6/7/2023       (1,021.77)                                                   SUSPENSE                         (1,021.77)     100.88
   6/7/2023        1,021.77                   4/1/2023                         PAYMENT                           1,021.77      100.88
   6/8/2023        1,006.00                                                    SUSPENSE                          1,006.00    1,106.88
   6/8/2023       (1,033.34)                                                   SUSPENSE                         (1,033.34)      73.54
   6/8/2023        1,033.34                   5/1/2023                         PAYMENT                           1,033.34       73.54
Next Post-Petition Due Date                   6/1/2023
BKR Chapter 13




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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE: Eileen M. Bowers                                BK NO. 22-11231 AMC
                                    Debtor(s)
                                                         Chapter 13
  MIDFIRST BANK
                                    Movant               Related to Claim No. 6-2
                   vs.

  Eileen M. Bowers
                                    Debtor(s)

  Kenneth E. West,
                                    Trustee

                        CERTIFICATE OF SERVICE
          RESPONSE TO NOTICE OF FINAL CURE MORTGAGE PAYMENT
  I, Denise Carlon of KML Law Group, P.C., certify that I am, and at all times hereinafter mentioned
  was, more than 18 years of age and that on June 29, 2023, I served the above captioned pleading,
  filed in the proceeding on the parties at the addresses shown below;

  Debtor(s)                                              Attorney for Debtor(s) (via ECF)
  Eileen M. Bowers                                       Paul H. Young, Esq.
  1630 Horace Court                                      Young, Marr, Mallis & Deane, LLC
  Bensalem, PA 19020                                     3554 Hulmeville Road, Suite 102
                                                         Bensalem, PA 19020

                                                         Trustee (via ECF)
                                                         Kenneth E. West
                                                         Office of the Chapter 13 Standing Trustee
                                                         1234 Market Street - Suite 1813
                                                         Philadelphia, PA 19107




  Method of Service: electronic means or first-class mail.

  Dated: June 29, 2023

                                                             /s/ Denise Carlon
                                                             Denise Carlon Esquire
                                                             Attorney I.D. 317226
                                                             KML Law Group, P.C.
                                                             BNY Mellon Independence Center
                                                             701 Market Street, Suite 5000
                                                             Philadelphia, PA 19106
                                                             201-549-2363
                                                             dcarlon@kmllawgroup.com
